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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION


JOHN MATTHEW PEREZ                              §
                                                §
VS.                                             §                 CIVIL ACTION NO. 4:20cv293
                                                §
HOPKINS CO. JAIL                                §

                                   ORDER OF DISMISSAL

       This case was referred to United States Magistrate Judge Kimberly C. Priest Johnson, who

issued a Report and Recommendation (Dkt. #9) concluding that Plaintiff’s case should be dismissed
       .
without prejudice for want of prosecution and failure to obey an Order. The Report and

Recommendation of the Magistrate Judge (Dkt. #9), which contains proposed findings of fact and

recommendations for the disposition of such action, has been presented for consideration. No

objections having been timely filed, the Court concludes that the findings and conclusions of the

Magistrate Judge are correct, and adopts the same as the findings and conclusions of the Court.

          It is therefore ORDERED that Plaintiff’s complaint is DISMISSED without prejudice.

All motions by either party not previously ruled on are hereby DENIED.

          So ORDERED and SIGNED this 19th day of October, 2020.




                                                            ____________________________________
                                                            SEAN D. JORDAN
                                                            UNITED STATES DISTRICT JUDGE
